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                              UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS – SAN ANTONIO DIVISION

 THE UNITED STATES OF AMERICA &
 THE STATE OF TEXAS,
 ex rel., Matthew Andrew Garces

            RELATOR,

 V.                                                               CAUSE NO. SA:18-CA-0802 DAE

 TENET HEALTHCARE CORPORATION,
 BAPTIST HEALTH SYSTEM, INC.

            DEFENDANTS


                       PLAINTIFF-RELATOR’S NOTICE OF DISMISSAL
                           PURSUANT TO FED. R. CIV. P. 41 (a)(2)


          COMES NOW, Relator Matthew Andrew Garces (“Relator”), by and through the

undersigned counsel, respectfully moves pursuant to Fed. R. Civ. P. 41(a)(2) to voluntarily

dismiss this action against Defendants Tenet Healthcare Corporation (“Tenet”) and Baptist

Health System, Inc. (“Baptist”; collectively with Tenet, the “Defendants”). Dismissal is

proper under Fed. R. Civ. P. 41(a)(2) as Defendants were not served and, therefore, they

did not file an answer, motion for summary judgment, or counterclaims. Moreover, the

United States and the State of Texas have provided Relator with written notice of their

consent to dismissal pursuant to Fed. R. Civ. P. 41(a)(2), subject to the following

conditions:

          1.         As to Relator Matthew Andrew Garces, this action is dismissed in its

                     entirety with prejudice; and

          2.         As to the United States and the State of Texas, dismissal is without

                     prejudice.


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          This case may only be dismissed by order of the Court. As such, Relator

respectfully moves the Court for an order of voluntarily dismissal with prejudice as to his

claims against all Defendants. The United States and the State of Texas consent to this

dismissal, and entry of the proposed order of dismissal being submitted in conjunction with

this motion, which dismisses the action as without prejudice as to them.

          In light of the foregoing, this motion should be granted.

Dated: December 22, 2020

                                                                  WEST, WEBB, ALLBRITTON, & GENTRY, PC
                                                                  1515 Emerald Plaza
                                                                  College Station, Texas 77845
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                                                                  By: /s/ Gaines West
                                                                     Gaines West
                                                                     Texas Bar No. 21197500
                                                                     gaines.west@westwebblaw.com

                                                                  ATTORNEY FOR RELATOR
                                                                  Matthew Andrew Garces

                                    CERTIFICATE OF CONFERENCE

I certify that on the 22nd day of December, 2020, counsel for relator conferred with counsel
for the government, listed below, regarding the merits of this motion, and no counsel for
any party opposes the filing of this motion:

Erin Van De Walle
United States Attorney’s Office
601 NW Loop 410, Suite 600
San Antonio, Texas 78216

Ken Paxton
Texas Attorney General
Office of the Attorney General
300 W. 15th Street
Austin, Texas 78701
                                                                  /s/ Gaines West
                                                                  Gaines West



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                                        CERTIFICATE OF SERVICE

        The foregoing was electronically filed with the Clerk of the Court on this 22nd day
of December, 2020, a copy was served on counsel below in accordance with Federal Rules
of Civil Procedure:

Erin Van De Walle
United States Attorney’s Office
601 NW Loop 410, Suite 600
San Antonio, Texas 78216

Ken Paxton
Texas Attorney General
Office of the Attorney General
300 W. 15th Street
Austin, Texas 78701

                                                                  /s/ Gaines West
                                                                  Gaines West




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